     Case 2:11-cr-00107-WFN    ECF No. 470   filed 09/16/11   PageID.1044 Page 1 of 1




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 3
                               UNITED STATES DISTRICT COURT
 4                            EASTERN DISTRICT OF WASHINGTON
 5
       UNITED STATES OF AMERICA,                )
 6                                              )    No. CR-11-107-WFN-16
                        Plaintiff,              )
 7                                              )    ORDER GRANTING IN PART
       v.                                       )    DEFENDANT’S MOTION FOR
 8                                              )    RECONSIDERATION OF RELEASE
       GABRIEL SANTIAGO MEDINA,                 )    CONDITIONS
 9                                              )
                        Defendant.              )
10                                              )

11    Date of bail review hearing: September 16, 2011.

12          IT IS ORDERED Defendant’s Motion to Modify (ECF No. 408) is

13    GRANTED in part.         Electronic monitoring shall remain in place.

14    Defendant shall have a curfew of 9:00 p.m. to 5:00 a.m. daily.

15          All other conditions of release previously set shall remain in

16    place.

17          DATED September 16, 2011.

18
19                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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      ORDER GRANTING IN PART DEFENDANT’S MOTION
      FOR RECONSIDERATION OF RELEASE CONDITIONS - 1
